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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NOS. 2:16-CR-00046 GEB; 2:16-CR-00001
                                                         GEB
12                                Plaintiff,
                                                         STIPULATION REGARDING EXCLUDABLE
13                          v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                         [PROPOSED] FINDINGS AND ORDER
14   ZALATHIEL AGUILA,
15                                Defendants.
16

17
                                                 STIPULATION
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            1.      By previous order, this matter was set for status on August 24, 2018.
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            2.      By this stipulation, the parties now move to continue the status conference until August
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     31, 2018, and to exclude time between August 24, 2018, and August 31, 2018, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has produced approximately 32,161 pages of discovery directly
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            to defense counsel in this matter to date, as well as multiple audiovisual disks not included in that
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            page count. This discovery consists of investigative reports, audio recordings, banking records,
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            escrow files, loan files, various subpoena returns, and other documents obtained or created in the
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            course of the investigation. Moreover, this discovery includes an image of a hard drive obtained
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            during the investigation related to the Capital Access business, containing voluminous files that
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            have not been individually Bates-stamped for pagination count. Finally, defense counsel has

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
30    FINDINGS AND ORDER
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 1          been informed that the government is in possession of additional documents available for

 2          inspection and copying at its offices.

 3                  b)     Counsel for defendant desires additional time to review this voluminous

 4          discovery, consult with her client, conduct investigation and research, and to otherwise evaluate

 5          the case and prepare for trial.

 6                  c)     Counsel for defendant believes that failure to grant the above-requested

 7          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 8          into account the exercise of due diligence.

 9                  d)     The government does not oppose the request for a continuance.

10                  e)     Based on the above-stated findings, the ends of justice served by continuing the

11          case as requested outweigh the interest of the public and the defendant in a trial within the

12          original date prescribed by the Speedy Trial Act.

13                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of August 24, 2018 to August 31,

15          2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16          T4] because it results from a continuance granted by the Court at the parties’ request on the basis

17          of the Court’s finding that the ends of justice served by taking such action outweigh the best

18          interest of the public and the defendant in a speedy trial.

19          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
21 must commence.

22          IT IS SO STIPULATED.

23    Dated: August 15, 2018                                  MCGREGOR W. SCOTT
                                                              United States Attorney
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25                                                            /s/ MATTHEW M. YELOVICH
                                                              MATTHEW M. YELOVICH
26                                                            Assistant United States Attorney
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        2
30    FINDINGS AND ORDER
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     Dated: August 15, 2018                             /s/ SHARI RUSK
 1                                                      SHARI RUSK
                                                        Counsel for Defendant
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                                                        ZALATHIEL AGUILA
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                                           FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED.
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          Dated: August 16, 2018
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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
30   FINDINGS AND ORDER
